         Case 3:18-cv-00103 Document 20 Filed on 07/12/18 in TXSD Page 1 of 2




                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                         GALVESTON DIVISION
JUDE AKUECHIAMA                                                  §
                                                                 §
         Plaintiff,                                              §
                                                                 §
v.                                                               §        CIVIL ACTION NO. 3:18-cv-103
                                                                 §
NEW PENN FINANCIAL, LLC AND                                      §
REMY REAL ESTATE AND                                             §
INVESTMENTS LLC                                                  §
                                                                 §
         Defendants.                                             §

                           JOINT STIPULATION TO DISMISS REMY REAL
                          ESTATE AND INVESTMENTS LLC'S CROSS-CLAIM

           New Penn Financial, LLC d/b/a Shellpoint Mortgage Servicing and Remy Real Estate

 and Investments, LLC hereby stipulate to the dismissal of Remy's cross-claim against Shellpoint.

           WHEREFORE, premises considered, the parties respectfully request the court enter an

 order dismissing the cross-claim with prejudice and for any and all other relief to which the

 parties may show themselves justly entitled.

 Date: July 12, 2018                                                       Respectfully submitted,

                                                                           /s/ Joseph P. Montalbano
                                                                           Joseph P. Montalbano
                                                                           SBN: 14279700, FBN: 15169
                                                                           One Corporate Plaza
                                                                           2525 Bay Area Blvd., Suite 310
                                                                           Houston, Texas 77058
                                                                           Tel. (281) 488-1656
                                                                           Fax. (281) 488-5884
                                                                           jpm913@gmail.com

                                                                           ATTORNEY FOR DEFENDANT REMY
                                                                           REAL ESTATE AND INVESTMENTS,
                                                                           LLC



 JOINT STIPULATION TO DISMISS REMY REAL                                                                     Page 1 of 2
 ESTATE AND INVESTMENTS LLC'S CROSS-CLAIM
 Civil Action No. 3:18-cv-00103; Jude Akuechiama v. New Penn Financial, LLC, et al.
        Case 3:18-cv-00103 Document 20 Filed on 07/12/18 in TXSD Page 2 of 2




                                                                          /s/ Bryan T. Brown
                                                                          C. Charles Townsend
                                                                          SBN: 24028053, FBN: 1018722
                                                                          charles.townsend@akerman.com
                                                                          Bryan T. Brown
                                                                          SBN: 24055219; FBN: 946689
                                                                          bryan.brown@akerman.com
                                                                          AKERMAN LLP
                                                                          2001 Ross Avenue, Suite 3600
                                                                          Dallas, Texas 75201
                                                                          Telephone: 214.720.4300
                                                                          Facsimile: 214.981.9339

                                                                          ATTORNEYS FOR DEFENDANT NEW
                                                                          PENN FINANCIAL, LLC DBA
                                                                          SHELLPOINT MORTGAGE
                                                                          SERVICING




                                             CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2018, a true and correct copy of the foregoing instrument
was served as follows:

VIA ECF
Robert C. Vilt
Erick Delarue
Vilt and Associates, P.C.
5177 Richmond Avenue, Suite 1142
Houston, Texas 77056




                                                                          /s/ Bryan T. Brown
                                                                          Bryan T. Brown




JOINT STIPULATION TO DISMISS REMY REAL                                                                   Page 2 of 2
ESTATE AND INVESTMENTS LLC'S CROSS-CLAIM
Civil Action No. 3:18-cv-00103; Jude Akuechiama v. New Penn Financial, LLC, et al.
